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                             UNITED STATES DISTRICT COURT
                                       FOR THE
                                 DISTRICT OF VERMONT


UNITED STATES OF AMERICA                             )
                                                     )
       v.                                            )       Docket No. 2:21-mj-00101
                                                     )
ROBERT RENNER, A.K.A. “MIKE,”                        )
    Defendant.                                       )

                                  MOTION FOR DETENTION

       The United States of America moves for pretrial detention of the above-named defendant

pursuant to 18 U.S.C. § 3142(e) and (f).

       1. Eligibility for Detention. This defendant is eligible for detention because the case

charges a felony involving possession of a firearm See 18 U.S.C. § 3142(f)(1)(E).

       2. Reason For Detention. The Court should detain the defendant because there are no

conditions of release that will reasonably assure the defendant’s appearance as required or the

safety of the community. Turning to the factors under 18 U.S.C. § 3142(g), the nature and

circumstances of the crime charged weigh in favor of detention. The complaint affidavit states

that Renner was conducting business at the intersection of drugs and firearms, one of the most

dangerous circumstances in Vermont. The complaint affidavit outlines a compelling case against

Renner. He was caught red-handed and admitted the charged violation. Indeed, he admitted other

serious crimes, including drug trafficking and trading drugs for firearms. Renner’s history and

characteristics also counsel for detention. The defendant has no substantial ties to Vermont. He

appears to have been unemployed, supporting himself by criminal conduct. He has various

felony convictions and has been sentenced to substantial prison sentences. Finally, it appears that

Renner was an active user and dealer in methamphetamine, a highly addictive controlled
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substance. Active users who are not successful with drug treatment frequently turn back to drug

using and dealing while on supervision.

       3. Rebuttable Presumption. The United States will not invoke the rebuttable

presumption against the defendant under § 3142(e).

       4. Time For Detention Hearing. The United States will decide on its position about the

need for the statutory three-day continuance mandated by 18 U.S.C. § 3142(f) after reviewing

the pretrial services report, which has not been received.

       Dated at Burlington, in the District of Vermont, this 15th day of October, 2021.

                                                             Respectfully submitted,

                                                             UNITED STATES OF AMERICA

                                                             JONATHAN A. OPHARDT
                                                             Acting United States Attorney

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